         Case 2:05-cr-00322-RSM       Document 32      Filed 08/29/05    Page 1 of 3




 1
 2
 3
 4
 5
 6
 7                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON
 8                                AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                Plaintiff,     )            CASE NO.       05-419 M
                                 )
12         v.                    )
                                 )
13                               )            DETENTION ORDER
    STEPHANIE RUIZ-RODRIGUEZ, )
14                               )
                Defendant.       )
15 ______________________________)
16 Offenses charged:
17          Count 1:     Conspiracy to Distribute Methamphetamine, in violation of Title 21,
18                       U.S.C., Sections 841(a)(1) and 841(b)(1)(A) and 846;
19          Count 4:     Distribution of Methamphetamine, in violation of Title 21, U.S.C.,
20                       Sections 841(a) and 841(b)(1)(A);
21          Count 9:     Possession With Intent to Distribute Methamphetamine, in violation
22                       of Title 21, U.S.C., Sections 841(a)(1) and 841(b)(1)(A);
23          Count 10:    Maintaining a Drug Involved Premises, in violation of Title 21,
24                       U.S.C., Section 856(a)(2), and Title 18, U.S.C., Section 2;
25          Count 11:    Possessing a Firearm in Furtherance of a Drug Trafficking Crime, in
26                       violation of Title 18, U.S.C., Section 924(c)(1)(A)(i); and

     DETENTION ORDER
     PAGE -1-
           Case 2:05-cr-00322-RSM         Document 32      Filed 08/29/05     Page 2 of 3




 1            Count 12:     Possessing a Firearm in Furtherance of a Drug Trafficking Crime, in
 2                          violation of Title 18, U.S.C., Section 924(c)(1)(C)(i).
 3   Date of Detention Hearing: August 29, 2005.
 4            The Court, having conducted an uncontested detention hearing pursuant to Title
 5   18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for
 6   detention hereafter set forth, finds that no condition or combination of conditions which the
 7   defendant can meet will reasonably assure the appearance of the defendant as required and
 8   the safety of any other person and the community. The Government was represented by
 9   Patricia Lally. The defendant was represented by Lee Covell.
10            The Government filed a Motion for Detention, to which the defendant stipulated.
11        FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
12            (1)    There is probable cause to believe the defendant committed the
13                   conspiracy drug offense. The maximum penalty is in excess of ten years.
14                   There is therefore a rebuttable presumption against the defendant’s
15                   release based upon both dangerousness and flight risk, under Title 18
16                   U.S.C. § 3142(e).
17            (2)    Nothing in this record satisfactorily rebuts the presumption against
18                   release for several reasons:
19                   (a)    The defendant is viewed as a risk of non-appearance because she
20                          is a citizen and national of Mexico who is an illegal resident of
21                          the United States; her background and ties to the district are
22                          unknown; and BICE has filed a detainer.
23                   (b)    Due to the nature and seriousness of the crime alleged, in
24                          combination with her immigration status and unknown
25                          background, release of the defendant would pose a risk to the
26                          community.

     DETENTION ORDER
     PAGE -2-
         Case 2:05-cr-00322-RSM      Document 32       Filed 08/29/05    Page 3 of 3




 1               (c)    The defendant stipulated to detention.
 2         (3)   Based upon the foregoing information which is consistent with the
 3               recommendation of U.S. Pre-trial Services, it appears that there is no
 4               condition or combination of conditions that would reasonably assure
 5               future Court appearances and/or the safety of other persons or the
 6               community.
 7         It is therefore ORDERED:
 8         (l)   The defendant shall be detained pending trial and committed to the
 9               custody of the Attorney General for confinement in a correction facility
10               separate, to the extent practicable, from persons awaiting or serving
11               sentences or being held in custody pending appeal;
12         (2)   The defendant shall be afforded reasonable opportunity for private
13               consultation with counsel;
14         (3)   On order of a court of the United States or on request of an attorney for
15               the Government, the person in charge of the corrections facility in which
16               the defendant is confined shall deliver the defendant to a United States
17               Marshal for the purpose of an appearance in connection with a court
18               proceeding; and
19         (4)   The clerk shall direct copies of this order to counsel for the United
20               States, to counsel for the defendant, to the United States Marshal, and to
21               the United States Pretrial Services Officer.
22         DATED this 31st day of August, 2005.
23
24
25
                                                    A
                                                    Monica J. Benton
26                                                  United States Magistrate Judge


     DETENTION ORDER
     PAGE -3-
